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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


 ALLIANCE FOR RETIRED AMERICANS,
 et al.,

             Plaintiffs,
        v.                                                Civil Action No. 25-0313 (CKK)
 SCOTT BESSENT, in his official capacity as
 Secretary of the Treasury, et al.,

             Defendants.


                                             ORDER
                                          (March 4, 2025)

       On February 25, this Court ordered Defendants to “file the administrative record

underlying the decisions challenged in this case on or before March 10, 2025.” Min. Order (Feb.

25, 2025). The Court further ordered that “[i]f Defendants take the position that any document

that would otherwise be part of the administrative record is subject to a privilege, Defendants shall

promptly file a motion for exemption from disclosure, which the Court shall resolve in due course.”

Id.

       Now pending before the Court is Defendants’ [37] Motion for Clarification or, in the

Alternative, to Exclude Materials from the Administrative Record (“Motion” or “Mot.”), ECF No.

37. In their Motion, Defendants seek an order clarifying that when filing the administrative record,

they need not log or seek leave to exclude materials that are subject to the deliberative-process

privilege, the attorney-client privilege, or the attorney work-product doctrine. Id. at 1. In the

alternative, Defendants request leave to exclude from the administrative record any materials

subject to these privileges. Id. Plaintiffs oppose the Motion. Pl.’s Resp., ECF No. 39. The Court

shall GRANT IN PART and DENY IN PART Defendants’ Motion.

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       The Court will not require Defendants to log or move to exclude from the administrative

record any materials that are subject to the deliberative-process privilege. As Defendants note,

this privilege applies only to “predecisional” documents. Mot. at 2 (citing N.L.R.B. v. Sears,

Roebuck & Co., 421 U.S. 132, 151 (1975)). And Defendants are correct that courts generally do

not require agencies to produce “predecisional and deliberative” documents as part of the

administrative record in an Administrative Procedure Act (“APA”) case. Oceana, Inc. v. Ross,

920 F.3d 855, 865 (D.C. Cir. 2019); see Mot. at 2–3. Because the “reasonableness of the agency’s

action is judged in accordance with its stated reasons,” such documents are “immaterial as a matter

of law” in an APA case unless “there is a showing of bad faith or improper behavior.” Stand Up

for Cal.! v. U.S. Dep’t of Interior, 71 F. Supp. 3d 109, 122 (D.D.C. 2014) (BAH) (quoting In re

Subpoena Duces Tecum Served on the Office of the Comptroller of the Currency, 156 F.3d 1279,

1279–80 (D.C. Cir. 1998)); see also Oceana, 920 F.3d at 865 (noting that “predecisional

documents” are generally “irrelevant” in an APA case). In the absence of such a showing, these

documents are “not required to be placed on a privilege log.” Oceana, 920 F.3d at 865. Because

Plaintiffs have not made such a showing, the Court will not require Defendants to create a privilege

log of materials that they claim are subject to the deliberative-process privilege.

       Instead, the Court expects that Defendants will “submit ‘[p]roper certification’ that the

record is complete, which [will] serve[] as ‘formal representation by the [agency]’ that it duly

evaluated all predecisional documents before excluding them from the record.” Id. (first and fourth

alterations in original) (quoting Norris & Hirshberg v. S.E.C., 163 F.2d 689, 694 (D.C. Cir. 1947)).

The Court need not decide at this early stage whether “special circumstances” may later warrant

“further action or inquiry” into Defendants’ designation of the administrative record. See id.

(identifying circumstances that may warrant such an inquiry).



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       However, the Court shall deny Defendants’ request to exclude privileged materials that are

not predecisional or deliberative without logging its claims of privilege or seeking leave from the

Court to exclude those documents. The rationale for excluding predecisional documents from the

administrative record without a privilege log is that those documents are “irrelevant” in an APA

case. Oceana, 920 F.3d at 865. But as Plaintiffs correctly note, this rationale does not apply to

privileged materials that are neither predecisional nor deliberative, since those materials are not

necessarily “irrelevant.” See id.; Pls.’ Resp. at 3. And courts in this District have occasionally

conducted in camera review of material that an agency withheld from the administrative record

because of a privilege or doctrine other than the deliberative-process privilege to decide whether

that material should be added to the record. See, e.g., Friends of Animals, Inc. v. Jewell, 185 F.

Supp. 3d 60, 66 (D.D.C. 2016) (CRC) (attorney-client privilege); Sendra Corp. v. Magaw, No. 94-

cv-0949, 1995 WL 434451, at *1 (D.D.C. July 13, 1995) (TAF) (attorney work-product doctrine).

To allow Plaintiffs and the Court to assess whether that type of inquiry may be necessary here, the

ordinary procedure for claims of privilege shall apply to all privileges other than the deliberative-

process privilege: “[A] party claiming privilege as a reason to withhold documents must produce

a privilege log.” Banks v. Off. of Senate Sergeant-At-Arms & Doorkeeper of U.S. Senate, 471 F.3d

1341, 1343 (D.C. Cir. 2006) (citing Fed. R. Civ. P. 26(b)(5)).

       On this point, the Court agrees with Plaintiffs that Defendants’ contrary authorities are not

persuasive. See Pls.’ Resp. at 4–5. None of the decisions that Defendants cite explains why non-

deliberative material should be withheld without a privilege log. See New York v. Salazar, 701 F.

Supp. 2d 224, 236 (N.D.N.Y. 2010); Stand up for Cal.!, 71 F. Supp. 3d at 123; Narragansett Indian

Tribe v. Pollack, No. 22-cv-2299, 2023 WL 4824733, at *11 (D.D.C. July 27, 2023) (RC). And

both decisions that Defendants cite from courts in this District appear to have involved materials



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that were subject to the deliberative-process privilege, in addition to any other privilege that may

have applied. See Stand up for Cal.!, 71 F. Supp. 3d at 123; Narragansett Indian Tribe, 2023 WL

4824733, at *11. These materials therefore appear to have been “predecisional” and “irrelevant”

to the issues to be decided in an APA case, obviating any need for careful evaluation of the

agencies’ other claims of privilege. Oceana, 920 F.3d at 865.

       For the foregoing reasons, Defendants’ Motion is GRANTED IN PART and DENIED

IN PART, as follows: When preparing the administrative record, Defendants need not produce a

privilege log or seek exemption from disclosure for “predecisional and deliberative” materials that

are subject to the deliberative-process privilege. See Oceana, 920 F.3d at 865. Instead, when

filing the administrative record, Defendants must certify that “the record is complete” and that they

“duly evaluated all predecisional documents before excluding them from the record.” Id. (quoting

Norris & Hirshberg, 163 F.2d at 694). Defendants may exclude materials based on the attorney-

client privilege, the attorney work-product doctrine, or another privilege only if they produce a

privilege log documenting the reasons for those exclusions. See Banks, 471 F.3d at 1343.



       SO ORDERED.

       Dated: March 4, 2025

                                                      COLLEEN KOLLAR-KOTELLY
                                                      United States District Judge




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